Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 1 of 27 Page ID #:242




          EXHIBIT 1
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  ,_.. ,       ...,
Case 2:19-cv-02185-PSG-AS Document 8-1'
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                                                                                            Filed 03/29/19
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                                                                                                                  Page 2 of 27                                  Page ID #:243
                                                                                                                                                                                              SUM-100
                       SUMMONS                                                                                                                             FOR COURT USE ONLY
                                                                                                                                                                         corm:
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                                                                                                                                                      '          .   Jr.t.Ltrt)
                                                                                                                                                      SOLO PARA USO DE LA                     1


 NOTICE TO DEFENDANT:                                                                                                                                 SLii~~Hor l:tlllH     o1 tu!ifn1;!1i11
 (AV/SO AL DEMANDADO):                                                                                                                                    t 11u11 iY t;( ti\~ ,\1rn~1h1~
 MORTGAGE ELECT,RONIC REGISTRATION SYSTEMS, INC.;                                                                                                                0Ci :10'%010
   ADDITIONAL PARTIES ATTACHMENT FORM IS ATTACHED
                                                                                                                                      Sherri R. C~r!f.,r, CJ1t:11ulive Offic:el'/Ch:rk
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                                               <~-""~....
                                                                                                                                      By_ _:c:,s... ·...>\-·                . Deputy
 (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                                                                Steve Orozco'
 ROBINSON, DANIEL W.; ROBINSON, DARLA J.; CABRERA,
 MIGUELA.
   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
      You have 30 CALENDAR DAYS after this summons and legal papers are seived on you to file a written response at this court and have a copy
   served on U,e plaintiff. A letter or phone call will not.protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.courlinfo.ca.gov/selfhetp), your county law library. or the courthouse nearest you. It you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time. you may lose the case by default, and your wages. money. and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locale
   these nonprofit groups at the California Legal Services Web site (www.lawhetpcalifornia.arg), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gav/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  1AVISOI Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
  continuaci6n.
      Tiena 30 DIAS DE CALENDARtO despuas de que le entreguen esta citacion y pape/es legates para presentar una respuesta por escrito en es/a
  corte y hacer que se entregue una copia at demandante. Una carta o una Hamada telef6nica no lo protegen. Su respuesta por escrila tiene que es tar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la carte y mas lnformaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de /eyes de su condado o en la corte que le quede mtls cerca. SI no puede pagar la cuota de presentacion, pida al secretario de la. carte
  que le de un formularia de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
  podra quitar su sue/do, dinero y bienes sin mas adverlencia.
     Hay otros requisitos legates. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /Jamar a un scrvicio de
  remision a abogados. Si no puede pagar a un abagado, es posib/e que cumpla con /os requisitos para obtener servicios legates gra/uitos de u,;
  programa de servicios legates sin fines de lucro. Puede encontrar estas grupos sin fines de /ucro en el sitia web de California Legal Services.
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o.poniendose en contacto con la corte o el
  co/egio de abogados locales. AV/SO: Por ley, la corte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sabre
  cua/quier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una cancesi6n de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la carte pueda desechar el caso.

The name and address of the court is:                                                                                       CASE NUMBER:
(El nombre y direccion de la corte es):                         SUPERJOR COURT OF CALIFORNIA                                (Numero de/ Caso).'
                                                                                                                                                          ,._    .....
 COUNTY OF LOS ANGELES - NORTH VALLEY DISTR1CT ·
 Chatsworth Courthouse: 9425 Pendfiled Ave., Chatsworth, CA 91311
The name. address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre! la direcc/6n y el numero de telefono de! abogado de/.demandante, o def ~~m~ndante qu.e no tiene apog!~ es):
 Law Offices: West & A$soc's: 700 N Pacific Coast Hwy #201, Redondo Bra<:h".,c;a 9.0\77 J                                                                                      ~]i,.374.4141
                                                            .                                                       ~ .• · · :·   i I lo ..,':..'""       i::;<.,;,: ...u,, ..;.,..~
DATE:        OCT 3 0 2018                                       Sherri R. Car:er              Clerk, by           ,.. ........,,;..          ,.... . "'.         •                            ~eputy---
(Fecha)                                                                    •      L:          (Secretario).                                                                                           djunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS~010)).                                                       t.:,'/ i~vt.'!f..i   ~i;}..".: \)
            ........ ·            NOTICE TO THE PERSON SERVED: You are served                                                                             ,;> • '"'     ~I'< vi          ··
                                  1.                    D
                                          as an individual defendant.
                                  2.                    D
                                          as the person sued under the fictitious name of (specify):


                                                   3.   ~        on behalfof(specify): ,.
                                                                                             N\,on~~
                                                                                                _,,  t-\ · J.,
                                                                                                     ~ t.c.-,,oA4C.
                                                                                                                                         1
                                                                                                                                                      i{e,c\~'tfc.-'tio,J Sv~l. - I~
                                                                                                                                                             J                                l       ~
                                                        under:    [Al    CCP 416.10 {corporation)                             D               CCP 416.60 (minor)
                                                            D            CCP 416.20 (defunct corporation)        D                            CCP 416.70 (conservatee)
           , _ ,·~·
            flt ... _•. -··· . ......., -
                                                            D            CCP 416.40 (association or partnership) D                            CCP 416.90 (authorized person)
                                            .,i
                                                        ;_u D            other (specify):
                                                   4.   LA.ti    by personal delivery on {date):     2    }20) ~                                                                                  Page 1 or 1
 Form AdopCed for Mandatory Use
   Judicial Council of Calllomla
                                                                                       SUMMONS                                                                       Code or Ovit Procedure §§ 412.20. 465
                                                                                                                                                                                      www.~m" •:ilo.c~.[)011
                                                                                                                                                                                                  1

  SUM-100 (Rev. July 1, 2009)
                                                                                                                                                                Exhibit 1 - Page 1
  Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 3 of 27 Page ID #:244
                                                                                                                                SUM-200(A)
      SHORT TITLE:                                                                               CASE NUMBER:

 1-   Robinson, et al. vs. Mortgage Electronic Registration Systems, Inc

                                                            INSTRUCTIONS FOR USE
    -; This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    -; If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

      D          Plaintiff          [ZJ   Defendant    D   Cross-Complainant   D   Cross-Defendant

    ADDITIONAL PARTIES ATTACHMENT TO SUM:MONS :

                      (not MERSCORP HOLDINGS, INC. a separate and distinct unrelated entity);
                     UNITED PACIFIC MORTGAGE, a California General Partnership;
                      UNIVERSAL AMERICAN MORTGAGE COMPANY OF CALIFORNIA,
                      a California Corporation; and Does 1-25




                                                                 ~r
                                                              FEB 2 fl 2019
                                                                 j (2.




                                                                                                                   Page     1     of        1
                                                                                                                                       P"l!e 1 of 1
 Form Aaoptad for Mandatory Use
   Judicial Council of California                     ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) (Rev. Janwry 1, 2007]                           Attachment to Summons
                                                                                                                 Exhibit 1 - Page 2
                         ·dJJI
                                                         t i 4 of 27 Page ID #:245
Case 2:19-cv-02185-PSG-AS ~Document 8-1 Filed 03/29/19 Page

                                                                                                       !ff. . :...;tl.:i
                                                                                                       .. f L!~u
        1        Law offices: "WEST & ASSOCIATES"                                             Superj11r Otn!f! of t:1,tl j rorni1.1
                              AL WEST EsqSbn 134456                                             Ci1ll1Hy M f...-i,i I.\IWid~~
        2                 700 N Pacific Coast Hwy #201
                             Redondo Beach, Calif 90277                                              OLI
                                                                                                      fY"-'   ·~ f1   'ff'l~'~1
                                                                                                              1:11IJ .f:i,1IIJ
                             310. 374.4141 • 310.372.4137
        3
                           WestandAssoclatesl@JJMaiLCom                               Sherri R. Cnr!i!I', f~Xt:/IHl!JV~! Oili.::,!r/C!erk
        4        Attorney for Plaintiff(s): .
                                                                                      By        ·- ;~~·,,._\~'"):y,... . Ocpurv
                                                                                        -----J..,,~...,,.__\-.........._               .
                 (Robinson, Daniel W.; Robinson, Darla J.;                                       Steve Orozco
        5        Cabrera, Miguel A.)

        6
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
        7
                               COUNTY OF LOS ANGELES - NORTH VALLEY DISTRICT
        8                                                    "Chatsworth Courthouse"
        g
                 ROBINSON , DANIEL W.;                                  )   CASE#
                                                                                       11,Hcvoou.52
                                                                                       ,;.. '...,     ...
       10        ROBINSON, DARLA].; CABRERA,                            )
                                                                        )
                 MIGUEL A.                                                              COMPLAINT
       11                                                               )
                                                                        )               for
       12                                                               )   DECLARATORY JUDGMENT/RELIEF
                                                     Plaintiff(s),      )   1) A Judicial determination and
       13                                                               }      declaration that Mortgage Electronic
                 I'S                                                    )
       14                                                                      Registration Systems, Inc. ("MERS'')
                                                                        )
                                                                               is .n ot a true or actual "Beneficiary"
                                                                        )
       15                                                                      under a Deed of Trust, and therefore
                 MORTGAGE ELECTRONIC                     l
                                                                               does not hold any rights, title or
       16        REGIST'RATION SYSTEMS, INC.; (not l
                                                                               interest to the property subject to
                 MERSCORP HOLDINGS, INC . a separate l
       17        and distinct unrelated entity); UNIT'ED l                     the Deed of Trust;

       18        PACIFIC MORTGAGE, a California          ~                  2) A Judicial determination and .
                 General Partnership; UNIVERSAL                                declaration that Mortgage Electronic
       19        AMERICAN MORTGAGE COMPANY (                                   Registration Systems, Inc. (''MERS")
                 OF CALIFORNIA, a California             l                     is not a true or actual "Nominee" or
       20        Corporation;                                           )      "Agent" under a Deed of Trust, and
                                                        and Docs 1-25   )      therefore does not hold any rights,
       21
                                                                        )      title or interest    to
                                                                                                   the properly
                                                                        )      subject to the Deed of Trust
       22
                                                     Defendant.(s}. . l
       23

       24

      2s    11                                  NATU/lE OFJUDICIAL RELIEFS0U6HT
      26 11               Plaintifts Daniel W. Robinson; Darla]. Robinson (hereinafter rderred to a."
      27 11      "Robinsons"); Miguel A. Cabrera (hereinafter referred to as "Cabrera") by way of
      2a II inst.ant action exclusively seek a decision and ruling of two very specific Judicial
                                                                  .. l .
                                               COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF


                                                                                                       Exhibit 1 - Page 3
                                                      (
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           1
                  "Declaratory Judgments" and or "Relief' and noting more at this time, but do
          2
                  reserve any and all further relief which may be afforded to them as a result of instant
          3
                  action, or any other frivolous actions which may exist under the laws of the State of
          4
                  California and the United States.
          5                The specific relief sought are as follows:
          6        1ST REQUESTFOR DECLARATORYJUD6MENT/RELIEF:
          7
                         A]udicial determinabon and declaration that Mortgage Electronic Registratio
                  Systems, Inc. (hereinafter referred to as "MERS") and not ~CORP
          8       HOLDINGS, INC. ~ a. separate and distinct unrelated entity, is not a. lrue or a.ctual
          9
                   "Bene.iciazy" under the '1/obinsons or "Ca.hre.ra "Deed ofTrost (or any other
                                                          J/1


                  similar Deed ofTrost) even though it is misrepresented and improperly slllted, and
      10          therefore "MERS" does nothold any rights, tide orinrerest to the relab've property
      11          subject to the Deed ofTrost';
      12          r   REQUESTFOR DECLA.RATORYJUD6MENT/REUEF:
      13       11
                         AJudicial determinallon and declaration that Mortgage Electromc
                  Registrallon Sysrems, Inc. (hereinafter referred to as "MERSi andnot
      14          MERSCORP HOLDINGS, INC., a. separate and distinct unrela.ted entity, is not a.
      15
                  true or actua.1 "Nominee or "Agent" under the 'Wobinsons" or "Cabrera" Deed of
                   Trost (or any other similar Deed ofTrost) even though it is misrepresenred and
      16       11 improperly slllted, and therefore "MERS" does not hold any rights, title or inrerest
      17          to the relative property subject to the Deed ofTrost';
      18                                   NOTIC£ OF RELATED ACTIONS
      19                  1)     As to the "Robinsons"
      20 11               The "Robinsons" had a previous "Quiet Title" action which came to its
      21 II conclusion         case number: LASCC #PC052281
      22                  2)     As to "Cabrera"
      23                  "Cabrera" had two previous actions, one sounding in "Quiet Title" and the
     24        II second   based upon the "Cancellation and Expungement" of certain title instruments
     2 s 11 both         of which came to their conclusion case number: the first LASCC #KC062236;
     26        II the second LASCC #KC066701 respectively.

     27        11/ / /
     28        11/ / /
                                                           . 2.
                                        COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

                                                                                     Exhibit 1 - Page 4
                                  I                                      I
Case 2:19-cv-02185-PSG-AS
                        \ Document 8-1 Filed 03/29/19 Page
                                                      \    6 of 27 Page ID #:247



          1
                                                         PARTIES
          2
                      3)       Plaintiffs the "Robinsons" herein allege, that at all times relevant hereto
          3
               that they resided in the County of Los Angeles and State of Califon1ia whose subject
          4
               property is so situated and physically located and whose Deed of Trust is recorded
          5
               ag-ainst, both of which is within this Courts State, County, Judicial District an<l
          6 11 jurisdiction;

      7               4)       Plaintiff "Cabrera" herein alleges, that at all times relevant hereto that
      8       II he resided in the County of Los Angeles and State of Califon1ia whose suqject
      9 11 property is     so situated and physically located and whose Deed ofT'rust is recorded
     1 o 11 against,   both of which is within this Courts State, County, Judicial District and
     11 11 jurisdiction;

     12 11           5)        Plaintiffs herein allege, that at all times relevant hereto Defendant
     13        «Mortgage Electromc Registration Systems, Inc. ~ an unknown business entily is
     14        doing business in the State of California, in the County of and City where suqject
     15        property is so situated and physically located and whose Deeds of 'T'rusts are
     16        recorded against, both of which is within this Comts County and.Judicial Dist1ict;
     17              6)        Plaintiffc; herein allege, that at all times relevant hereto Defendant
     18        'Vnited Paci.ic Mortgage~ a California General Partnership doing business in the
     19        State of California, in the County of and City where subject property is so situated
     20        and physically located and whose Deeds of Trusts a.re recorded ag-<linst, both of
     21        which is within this Courts County and Judicial District;
     22              7)        Plaintiffs herein allege, that at all times relevant hereto Defonda.nt
     23        "Um'versalAmen'can Mortgage Company ofCalifornia.~ a Califon1ia Corporation
     24       doing business in the State of Califon1ia, in the County of and City where suqject
     25       property is so situated and physically located and whose Deeds of Trusts a.re
     26        recorded against, both of which is within this Courts County and Juclicial District;
     27              8)        Plaintiff is unaware of the true names and capacities of any individuals
     28       and/or entities sued herein m1der the fictitious names Does 1 to 25, inclusive or, to

                                                         -3-
                                      COMPLAINT FOR DECLARATORY JUDGMENI'/RELIEF

                                                                                        Exhibit 1 - Page 5
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       1
                  8}      Plaintiff is unaware of the true names and capacities of any individuals
       2
           and/or entities sued herein under the fictitious names Does 1 to 25, inclusive or, to
       3
           the extent that the names of such individuals or entities may become known to
       4   Plaintiff, and as such Plaintiff cannot state with any certainty that such a Cause of
       5   Action lies herein as against such individuals or entities, or Plaintiff is unable to
       6   allege the elements of such Cause of Action, at this time, and as such said
       7   Defendant(s) are herein named in accordance with the provisions of (Cal Code of Civil
       8   Procedure Sec. 474).   Plaintiff thereon reserves the right to amend instant Complaint to
       9   allege the true names and capacities of such fictitiously named Defendant(s) when
      10   the same become known or when it has been ascertained with reasonable certainty
      11   that such Cause of Action hereunder can be satisfactorily stated and maintained as
      12   against each such fictitiously named individual or entity;
      13
                                      6£NERAL ALL£6ATIONS
      14
                  9)     Possessed and stated within the "Robinsons" and "Cabrera" relevant
      15   Deeds of Trusts currently on title and recorded against their respective real
      16   properties (similar to the millions of other mortgage Deeds of Trusts of homeowners
      17   throughout tl1e United States) are two inappropriate, incorrect, misrepresented and
     18    false provisions (required as a matter of adhesion), the first of which states that
     19    "Mortgage Electronic Registration Systems, Inc., (MERS) is the Bene.idary under
     20    this securityinstnunent. The second is that gMortgage Electrom"c Registration
     21    Systems. Inc.• (MERS) is a separate corporation that is actingsolelvas a Nominee
     22    for Lender and Lender's successors an assigns 1:
     23           10)    Both of these statements and representations are incorrect, false and
     24    untrue. It is these two false representations that "MERS" inappropriately relies upon
     25    to incorrectly and from a false position operate and believe iliat they hold some sort
     26    of right, title and or interests to the real property these very Deeds of Trust relate,
     27    which iliey legally and absolutely do not. Not only as to the "Robinsons" and
     28

                                                     . 4.
                                  COMPLAINT FOR DECLARATORY JUDGMENl'/RELIEF

                                                                                 Exhibit 1 - Page 6
                                                      (
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 8 of 27 Page ID #:249


        1
              "Cabrera" real property but also all of those millions of other mortgage Deeds of
       2
              Trust.
       3               11)      Given this, although presented and discussed further herein "MERS"
       4      takes the misplaced and misguided position that they hold some sort of "Ba.re Legal
       5      Title" to these properties which grants or empowers them to act or effectuate
       6      transactions relative to these properties. A distorted and fabricated position without
       7      any legal support or authority.
       8
                               A CURRENT AND S16NIFICANT CONTRO\IERSY EXIST
       9
                       12)      Currently on title and affecting the relative "Robinsons" and "Cabrera"
      10
              real property Land Records (as well as all of the millions of similarly situated home
      11
              owners throughout the U.S.) are these false and incorrect Deeds of Trusts, which
      12
              significantly effect the vendibility, marketability, value and insurability of each and
      13
              every on of these parcels of real property;
      14               13)      In absence of a Judicial determination and Declaratory Judgment of
      15      Relief this dilemma affecting the current and full extent as to the respective rights,
      16      title and interests of the "Robinsons" and "Cabrera" real property are in opposite, or
      17      stand as opposed to the claim on behalf of "MERS" will continue to exist
      18      unresolved.
      19                                   "MUS" IS NOT A "BENEFICIARY"
      20               14)      That whjch defines what a "Beneficiary" is in the context of a
      21 11 residential      financing mortgage arrangement goes back to the earliest of times without
      22 11 change,       and is unequivocally : 1) an individual or entity that does the actual lending
      23 11   of the funds or proceeds relative to the subject "Promissory Note"; 2) is this
      2 4 11 individual      or entity clearly enumerated and stated as the "Lender" on the
      2s II "Promissory         Note"; 3) that this individual or entity is entitled to the agreed upon
      26    II payments      as outlined within the "Promissory Note"; and lastly 4) that this individual
     27 11 or    entity would be the one who would sustain the loss or harm in the event of a
     2s     11 default.   "MERS" fails to qualify as to each and every one of these qualifying required
                                                           - 5-
                                       COMPLAINT FOR DEC.LARA TORY JUDGMENT/RELIEF


                                                                                        Exhibit 1 - Page 7
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       1
            factors a number of which by their own admission. They neither lend, are stared on
       2
             the Note, receive payments, nor would sustain harm in the event of a default.
       3
            III
       4
                                            "MERS" IS NOT A aN0MIN££"
       5
                      15)     A "Nominee" is nothing more than an agentof another, or of a
       6
            principal which only comes into being, and is created by an agency agreement
       7
            among and between the Principal and the Agent with very specific and stated terms
       8
            and provision outlining with specificity the authority, powers and granted rights,
       9
            limited by those rights and power possessed by the Principal.
      10
                     16)      To begin, it is flawed to argue or contend that two parties, one of which
      11
            is not the alleged agent, can create an agency agreement for and on behalf of a third
      12
            party.
      13
                     17)      The "Robinsons", "Cabrera" Deeds of Trusts are entered into and
      14
            executed by the Lender and the "Robinsons", "Cabrera" as the home owner
      15
            borrowers not "MERS". As such there does not exist any privity of contact involving
      16
            "MERS,,. This scenario does not create an agency agreement.
      17
                     18)      Secondly, there does not exists any sort of Agency Agreement between
      18    the Lender and "MERS", and the contention countlessly put forward by "MERS"
      19    tha_ttheir membership agreement satisfied as the agency agreement is flawed, without
      20    merit and just outright frivolous.
     21                                         "BAR£ LE6AL TITLE"
     22              19)      When all arguments or contentions on behalf of "MERS" that they are
     23 11 a   "Beneficiary and or "Nominee" fails and or is debunked, they resort to the
     2 4 11 fabricated,     meritless and self-serving position that they possess "Bare legal ti tie" by
     2 s 11 virtue   of the stated and enumerated clause of adhesion within subject Deeds of
     2 6 11 Trusts.   This position has been brought forward and asserted by "MERS" without
     21    II any legal authority whatsoever,    and is the product of a self-serving argument.
     28

                                                        - 6.
                                     COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF


                                                                                       Exhibit 1 - Page 8
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       1
           right to prosecute a claim, but no right to the substantive recovery cannot show that
       2   he has a personal stake in the litig-cttion". By analogy where "ME.RS" claims to have
       3   been granted "Bare legal tile", if accepted as an argument, the end result would
       4   conclude that this grant would not grant clllY right<;, t.itJe or interest to the substantive
       5   asset which would be the "Robinsons" or "Cabrera" real prope1ty.
       6          21)     To conclude "Bare legal title" grants absolutely no rights title or
       7   interests in «my real property.
       e
                            SPECIFIC ALL£6ATIONS AS TO THE ROBINSO.NS
       9
                  22)     In 2005 the "Robinsons" purchased a residential home and entered
      10
           into a mortgage home financing arrangement, which included the execution of a
      11
           Promissory Note and Deed of Trust, the subject of inquiry and the basis of the
      12
           "Declaratory Relief" sought within this action. (see Attachment "A")
      13
                  23)     The Promissory Note and Deed of Trust relative to the Robinson
      14
           Mortgage financing states as the true and correct lender and beneficia.iy as 'Vmi:ed
      15
           Pacific Mortgagd', a Calif01nia General Partnership.
      16
                  24)     Of further significance during the investigation of this matter Plaintiffs
      17
           "Robinsons" were able to secure a declaration from the CEO (Daryl Wizelman) of
      18   "United Pacific Mmtgage" one of the senior Parn1ers of the "Robinsons" Lender
      19   who emphatically stated that "MERS" was neither a "Beneficiary" or "Nominee
      20   Agent" of the lender, nor did this Lender have any association with "MERS". (see
     21    Attachment "B")
     22          25}      It is this "Robinsons" Deed of 'l'rust attachment "A" which is the
     23    subject of inquiry and that of which forms the basis for the relief sought by and
     24    through instant ''Declaratmy Relief'' action.
     25                     SPECIFIC ALLEEiATIONS AS TO CABRERA
     26          26)      In 2004 Cabrera purchased a residential home and entered into a
     27 II m01tgage    home financing a.iTangement, which included the execution of a
     2s II Promissory    Note and Deed of'T'rust, the suQject ofinquiry and the basis of
                                                     . 7.
                                 COMPLAINI' FOR DECLARATORY JUDGMENT/RELIEF

                                                                                     Exhibit 1 - Page 9
                                                       (                  '
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 11 of 27 Page ID #:252



       1
              the "Declaratmy Relief'' sought within this action. (see Attachment "C")
       2
                       27)     The Promiss01y Note and Deed of'I'rust relative to the Cabrera
       3
              Mortgage financing states as the true and correct lender and beneficiary as
       4
               "Um·versalAmerican Mortgage Company ofCalifomia-':                a California
       5      Co q>0rati on.
       6               28)     It is this "Cabrera" Deed of Trust attaclunent "C" which is the
       7      subject of inqui11' and that of which forms the basis for the relief sought by
       8      and tl1rough instant "Declaratory Relief" action.
       9
                                                            jST
      10
                                              FIRST CAUSE OF ACTION
      11                                                    for
                                               DECLARATORY RELIEF
      12                                       (aMERS" is not a "Beneficiary»)

      13               29)   Plaintiffs herein incorporates by reference, restates, realleges, and
      14      reasserts any and all previously alleged allegations, facts, and paragraphs (l-28);
      15              30)    Plaii1tiffs herein allege, based upon the factual documents attached
      16      hereto and on infonnation and belief that "MERS" is not a "Beneficiary" merely
      17      because it is stated so within a Deed of Trust.
      18              31)    To legally qualify as a true and actual "Beneficiary" within a mortgage
      19 11 financing     arrangement, it is legally required that one must be the individual or entity
     20 II who       actually does the lending of the funds or proceeds relative to a "Promissory
     21 II Note",      further that this individual or entity is clearly enumerated and stated as the
     22    II "Lender" on the     "Promissory Note", and that this individual or entity is entitled to
     23    II the   agreed upon payments as outlined within the "Promissory Note", and lastly that
     2 4 11 this    individual or entity would be the one who would sustain the loss or harm in the
     2s 11 event of a default. "MERS" fails to qualify on each and every one of these qualifying
     2 6 11   required characteristics a nwnber of which by their own admission. 'fhey neither
     27 11 lend,     are stated on the Note, receive payments, nor sustain hann in the event of a
     2s 11 defantlt.

                                                        -8 -
                                     COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

                                                                                        Exhibit 1 - Page 10
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 12 of 27 Page ID #:253


        1
            event of a default. "MERS" fails to qualify on each and every one of these qualifying
        2
            required characteristics a number of which by their own admission. They neither
        3
            lend, are stated on the Note, receive payments, nor sustain harm in the event of a
        4
            default.
        5            32) · As such it would be within this Court's jurisdiction to render a
        6   Declaratory Judgment of Relief, judicially declaring that "MERS" is legally not in fact
       7    a true and actual "Beneficiary", and further that they do not hold or possess any
       8    rights, title or interest to the real property the subject of instant Deeds of Trusts for
       9    and on behalf of the "Robinsons" and "Cabrera" (as well as all of the other similarly
      10    situated Deeds of Trusts).
      11
                                                       2nd
      12                                 SECOND CAUSE OF ACTION
                                                        for
      13
                                            DECLARATORY RELIEF
                                            ("MERS" is not a "Nominee"}
      14

      15             33)   Plaintiffs herein incorporates by reference, restates, realleges, and
      16    reasserts any and all previously alleged allegations, facts, and paragraphs O·32);
      17             34)   Plaintiffs herein allege, based upon the factual documents attached
      18    hereto and on information and belief that "MERS" is not a "Nominee" merely
      19    because it is stated so within a Deed of Trust.
      20             35)   To qualify as a "Nominee" an individual or entity must be an agent of
      21    another, or of a principal which agency only comes into being, and is created by an
      22    agency agreement among and between the Principal and the Agent with specific and
      23    stated terms and provisions outlining with specificity the authority, powers and
      24    granted rights, limited by those rights and power possessed by the Principal.
      25             36)   To begin, it is flawed to argue or contend that two parties, one of which
      26    is not the alleged agent, can create an agency agreement for and on behalf of a third
      27    party.

      28             37)   The "Robinsons", "Cabrera" (and all similarly situated) Deeds of
                                                     -9 -
                                  COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

                                                                                 Exhibit 1 - Page 11
Case 2:19-cv-02185-PSG-AS! Document 8-1 Filed 03/29/19 Page 13 of 27 Page ID #:254


        1
            Trusts are entered into and executed by the Lender and relative home owner
        2
            borrower not "MERS". As such there does not exist any privity of contact involving
        3
            "MERS".
        4   This scenario does not create an agency agreement.
        5          38)     Secondly, there does not exists any sort of Agency Agreement between
        6   the Lender and "MERS".
        7          As such it would be within this Court's jurisdiction to render a
       8    Declaratory Judgment of Relief, judicially declaring that ":.ME.RS" is legally not
        9   in fact a "Nominee" or agent, and further that they do not hold or possess
      10    any rights, title or interest to the real property the subject of instant Deeds of
      11    Trusts for and on behalf of the "Robinsons" and "Cabrera" (as well as all of
      12    the other similarly situated Deeds of Trusts.
      13                                             PRAYER
      14           WHEREFORE;, Plaintiffs the "Robinsons" and "Cabrera" prays this Court
      15    for relief as follows:
      16           A)     For a Decree, Order, Judicial Detennination and or Declaratory
      17    Judgment that "Mortgage Electromc Registration Systems, Inc." is not a true or
      18    actual "Beneficiary" under the "Robinsons" or "Cabrera" Deed of Trust (or any
      19    other similar Deed of Trust) and therefor does not hold any rights, title or interest
      20    to the real property subject to the Deed of Trust;
      21           B)     For a Decree, Order, Judicial Determination and or Declaratory
      22    Judgment that gMortgage Electromc Registration Syst.ems, Inc." is not is not a true
      23    or actual "Nominee or Agent'' under the "Robin~ons" or "Cabrera" Deed of Trust
      24    (or any other similar Deed of Trust) and therefor does not hold any rights, title or
      25    interest to the property subject to the Deed of Trust'.
      26           C)     For such additional and further relief as the Court may deem just and
      27    easonable;
      28           D)     For Attorney's Fees;
                                                        - 10 -
                                     COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

                                                                                 Exhibit 1 - Page 12
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page
                                                      (    14 of 27 Page ID #:255



       1
                E)    For such reasonable costs of suit.
       2

       3
                Dated:      ~ i 1\\\i
       4
                                                           - ----~~~~~            ·-·~
                                                          Attorney for Plaint1ff(s)
       5                                         "Daniel W. Robinson, Darla J. Robinson
                                                          & Miguel A. Cabrera"
       6

       7

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       9

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                                                  · 11 ·
                             COMPLAINT FOR DECLARATORY JUDGMENI'/RELIEF


                                                                          Exhibit 1 - Page 13
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 15 of 27 Page ID #:256




                                                                                    Exhibit 1 - Page 14
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                                                                                    Exhibit 1 - Page 15
,                                                      (
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                                                                                           2/15/05
                                                                                                                            05 0342544
                                                                                                                                                                   /J



                            RECORDED AT THE REQUEST Of
                            CHICAGO TITLE COMPANY
                         Recording Requested By:
                         UNITED PACIFIC MORTGAGE



                         And Afler Recording Return To:
                         UNITED PACIFIC MORTGAGE
                         21600 OXNARD STREET, #1900
                         WOODLAND HILLS, CALIFORNIA 91367
                         Loan Number ; 1110019608




                        £(!(};>;)-I ,Zl- ' Af'J.-- ,space Abovo This l.ll'ICl for Recording 011t11J - - - - - - - - - - - -
                                                                   DEED OF TRUST
              :..J
              ~         MIN    100134911100196083
                 '
              ~         DEFINITIONS
                      • Words used In mullJple secllons of lhis document an: defined below and other words are defined In Secllons 3, 11,
              ~         13 . 18, ZO and 21. Certnln rules regarding Ifie usage of words used In this document are also provJded in Soclion JG.

              ~         (A} "Security Instrument" means this document, which is dated          FEBRUARY 7,              2005                , together
              rt.. wllh all Riders 10 this document
              . \) (B) "Borrower" ls DANIEL W. ROBINSON and DARLA J.                                        ROBINSON,            HUSBAND
                   AND WIFE AS JOINT TENANTS


                        Borrower is lhc U'USlor under this Security lnstrumenr
                        {C) "Lender" Is UNITED PACIFIC MORTGAGE

                       Lender Is a GENERAL PARTNERSHIP                                                                                    organized
                       and c:xlstlng under the laws of CALI FORNI A
                       Lender's address Is 2160 0 OXNARD STREET,                  4# 190 0,      WOODLAND HILLS,
                       CALIFORNIA 91367

                       (D} "Trustee" is CHICAGO TITLE
                       535 NORTH BRAND BLVD, GLENDALE,                           CALIFORNIA 91203

                       (E) ~MERS" Is Mor1gage Electronic Reglstratlon Systems, Inc. MERS ls a separate corporation tha1 Is acclng
                       solely as a nominee for Lender and Lender's successors and assigns. MERS ts the benenciary under this Secu rity
                       lnurument, MERS Is organlud and existing under the laws of Delaware, and has an addr~s and telephone number
                       or P.O. Box 2026 . Fllnl. Ml 48501-2026. tel. (888) 679-MERS.
                       (F} "Note" means the promissory note signed by Borrower and dated FEBRUARY 7, 2005
                       The Note states lhal Borrower owes LenderNINE HUNDRED NINETY-NINE THOUSAND NINE
                        HUNDRED FIITY AND 00/100                                Dollars (US S 999,950 .00             } plus ln1eres1.


                       Borrower lnJ1Jals   ~            --#-·.___
                       CAUFORNIA·-S1ngl11 Famoiy--Fannoo Mae/Frodd1e M.ic UNIFOR-M INSTRUMENT • MERS               OocM"1Jlc~            100448, 13. ,
                       Form 3005 01101                                      Page, or 14                                       www docmag,c com



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                                                                                                                                   Exhibit 1 - Page 16
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Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page
                                                      l    18 of 27 Page ID #:259
                                                                                                              I
                                                                                                                                                                         tf




                     LOT 21 OF TRACT NO . 43424, IN THE CITY OF LOS ANGELES, COONTr OF
                     LOS ANGELES, STATE Of CALIFORNIA. AS PER MAP RECORDED IN BOOK
                     1051, PAGES 29 AND 30 OF MAPS, IN THE OFFICE OF THE COUNTY
                     RECORDER OF SAID COUNTY.
                     A.P.N.        #: 2729-027-042




                     whlchcurrendyhastheaddressof 19127 ROMAR STREET,                                {NORTHRIDGE AREA)
                                                                                                   fSU'ee1J

                                          LOS ANGELES                                     . California        91324            ("Property Address"},
                                                    (Cky)                                                         !Zip Code)



                            TOGETHER WJTH all lhe lmprovemenls now or hereafter erected on che properly, and all easements.
                     appurtenances, and filil:lures now or hereafter a pan of 1he prope.ny. All repl11cemen1s 11nd 11ddl1lons shall also be
                     covered by lhis Security Instrument. All of the foregoing Is referred to In this Securll)' Instrument as the ~Properly."
                      Borrower understands and agrees tha1 MERS ha Ids only legal lltle to die Interests gran1ed by Borrower In I.his Security
                     Instrument. bu1, If necessary 10 comply with Jaw or cuslom, MERS (as nominee for Lender and Lender's successors
                     a.nd assigns) has the righr: 10 exercise any or :ill of tho.se inlerests. including. bu1 not Umlled to, lhe right lo foreclose
                     and sell the Properiy; and lo lake any 11cllon required or Lender Including. but no1 llml1ed 10. releasing and c:1nceling
                     this Securily Instrument.                                                                                                    .
                           BORROWER COVENANTS that Borrower is lawfully selsed or the eslale hereby conveyed and has the riglll
                    lo g,ant and convey the Properly a.,id char the Properiy is unencumbered, e,u:ept for encumbrances or record.
                    Borrower warrants and will defend generalty 1he rllle lo the Propercy against all claJms and demands. subjeel to ony
                    encumbrances of record.
                           THIS SECURITY INSTRUMEN'I' combines unifonn covenants ror national use and non-uniform covenants whh
                    limlled variations by Jurisdiction 10 consll1u1e II uniform security lnslrument covering real propercy.

                          UNIFORM COVENANTS. Borrower and Lender covenanl and agree as follows:
                           I . Pciymcnl ofPrincipal, lntercsl, Escrow Items, Prcpo.ymcnt Charges, and Lute Chur~cs. Borrower shall
                     pay when due the principal of, and lnceres1 on, the deb1 evidenced by tile Note and ,my prepayment charges and hue
                    charges due under the Nole. Borrower shall also pay funds for Escrow Items pursuonc to Secelon 3. Payments due
                    undeT \lie No,e and 1hls Securll)' Instrument shall be made In U.S. currency. However. If aay checlt or other
                    lns1rumen1 received by Lender us paymenl under che Note or Chis Security Inslnimenl is returned to Lender unpaid.
                    Lender may require that aoy or all subsequent paymems due under 1he Note and this SectJrlty Instrumenr be made 111
                    one or more of lhe following forms. as selected by Lender. (a) cash: (b) money order: (c) certlOed check, bank check,
                    lreasurer's check or cashier's check, provided any such check is drawn upon an lnstJlutlon whose deposits ere Insured
                    by a federal agency, lnstrumenrallcy, or entity, or (d) Elearonic Funds Transfer.
                          Payments are deemed received by Lender when received ac lhe local.Ion designated in tJ:ie Note or al such other
                    location as may be deslgnaled by Lender ln accordance with the notice provisions Jn Sealon 15. Lender may return
                    any payment or partial paymenl If the paymen4 or parllal paymems are lnsufficlen110 bring the Loan currenl. Lender
                    may accepc any payment or partial pi1ymcn1 Insufficient to bring 1he Loan currenl, wfthOlll waiver of any rights
                    hereunder or prejudice lo lls rights to reruse such paymenl or partial payments In the future, bul Lender Is not

                    Borrower Initials   ~& ~
                    CAllFORNlA-•Smgle Fam1Jy •• fanr,1e Mae/Freddie Mac: UNIFORM INSTRUMENT , ·MERS                    ~ A : : ~ ,DO-ll..~130:2
                    Form 3006 01/01                                        Page 3 of 14                                         WWW dOCmDglC      cam


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                                                                                                                                    Exhibit 1 - Page 17
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                                                                                    Exhibit 1 - Page 18
                        ( Document 8-1 Filed 03/29/19 Page 20 of 27 Page ID #:261
Case 2:19-cv-02185-PSG-AS



                                               DECLARATION OF DA:..lYL WIZELMAN


     I, Daryl Wizelmau, have personal lmowledge with respect to the matters set forth herein, and am
     prepared to testify to the same if called upon:
          1. I was one of the decision makers and former owners of United Pacific Mortgage, A
             General Partnership (UlvtP). It was actually a partnership made up of two corporations,
             one being a corporation wholly owned by Randy Levine, his 100% corporation was
             United Pacific Mortgage Co., Inc and another corporation owned 100% by me. We
             operated a mortgage-banking finn from 1990 through 2007.

          2. United Pacific Mortgage (UPM) was required by warehouse lenders and/or our
             investors to report to MERS. lvlERS was never our beneficiary or our agent. It was
             never an investor, lender or acquirer of any interest in any mortgage, security, deed of
             trust, or property·.;except a}; ·nb:essary to ~erve as a      mechanism. We were                        reporting
             doing no more than reporting to MERS the information we collected from our
             borrowers to satisfy our warehouse lenders and/or investors. Anything to the contrary
             was without authorization.

         3. illvfi> was sold to Countrywide in 2007 and went under shortly thereafter. Its assets
            have been completely liquidated and distributed to creditors pursuant to an assignment
            for the benefit of creditors under California State Law. It no longer exists or possesses
            any assets. It retained no interest in any, mortgage, deed oftrust, note or loan.


    I declare under penalty of perjury under the laws of the State of California that the foregoing is
    true and correct.
                                   I • •   ~




                    !~ : : ' . .. :. :, i ·:. t        ) . :.             . ' ; •.


                                 r·.-:·:\·        ~~·.;: .:!:·:: . ... r, :::~~::··.:.:; .~·.· :. . :::: !', ~ i:~. :: / f;?:.:: 1:! ;/ : /:::.


                                     Dat~d this 22nd day of December,                                         201~,·hi Los Angeles County,
                                     California.




                                                                                                              '


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Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 21 of 27 Page ID #:262




                                                                                    Exhibit 1 - Page 20
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                                                      (    22 of 27 Page ID #:263
                                                                                                                                 '
     ..                                                                  10/29/ 04 .

           Recoroing Requested By:                                                                                           j
           Veronica Espiaoza
           Return To:
           Universal AmeJ:ican Mortgage Company, LLC
           Secondary Marketing Ops
           700 NW 107th AV9nue 3rd Floor
           Miami, FL 33172-3139


           Prepaml By:
           Veronica Espinoza
           Universal Allerican Mortgage Company of
           California
           391 N. Main Street
           Corona CALIFORNIA 92880                   .             .
                  '              !Spacr AbovP TIiis Liu for Rtconf10& D • t • l , - - - - - - - - - - -
           Loan # ooos683982                                                         A9926
                                                       DEED OF TRUST
                                                                             MINIOOOS9600056839827




           ogFTNITIONS
           Words used in muhiple sections of this document are defined below end orher words are defined in
           Sections 3, 11, 13, 18, 20 end 21. Certain rules regarding the usage of words used in this document are
          also provided in Section 16.
          (A) "Security lnslmlJlalt.. means lhis document, which is dated October 19, 2004
          together with all Riders to this document
          (B) "Borrower'' is Ml GUEL A. CABRERA, A SINGLF. MAN




          Borrower's address is 9352 DADY AVE. SAN'l'A FE SPRINGS. CAUFOJINJA 90670
                                                    . Bortower is tl\C mastor under this Security lns(rument.
          (C) ''Lender" is Universal American Mortgage Company of Cali foroi a

          Lender is a Cali fonai a Corporati oo
          organized and existing under the laws of Cali f'ornia



          CALIFORNIA-Single Family.fa.n'Rle MaelFraddla Mac UNtFORlll lN!lTRUNENT Wint UERS       Ftinn 30GS 110,

          0-6A\CA)1e101)
               ~
          Paa• I of IS                   ~     ~
               \IMP MOIITGAOI! tORMS • (ID0J52l-729t



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                                                                                                           Exhibit 1 - Page 21
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 23 of 27 Page ID #:264

.'       Loan # 0005683982                                              - 10n~/ 04   A9926


                                                                                                                                     ti
         Lender's address is 391 N. .Maio Street. Sai te 200, Corona. CA 92808

         (D) 17rus1ee11 is llai versa] American Mortgage Company, W

         (E) 0 MERS1 is Mortgage Electronic Registration Systems, lnr:. MERS is a separate coqioration that is
        acting solely as a nominee for Lender and Lender's successors and assigns. MERS Is tire benefldary
        11oder 1bis Security lnstnnant. MERS is organized and existing utider the laws of Delaware, and has an
        address and telephone number of P.O. Box 2026. flint,. Ml 48501-2026, tel. (888) 679-MERS.
        {F) "Note" means the promissory note signed by Borrower and dated October 19, 2004
        The Note states that Borrower owes Lender Three Hundred Ninety Thousand Sevea llundred
        alkl 00/JOO                                                                                          Dollars
        (U.S. $ 390. '100. 00            ) plus mtel!Sl. Borrower has J>Jomised to pay this debt in segular Periodic
        Payments and 10 pay the debt in full not tater than November 01. 2034
        (G) "Property" means the property that is described below under the heading "Transfer of Rights io the
         Property."
         (H) "Loan" means the deb& evidenced by the Nore. plus interest. any prepayment charges and lale charges
        due under the Note, and all surm due under this S~ity Instrument, plus interest.
        O} "RJders11 means aJI Riders to this Security Instrument that are executed by Borrower. The following
        Riders are to be executed by Borrower [check box as applicable]:

                                           §                                 §
         ~
                  Adju$lable Rate Rider    Condominium Rider                     Second Home Rider
                  Balloon Rider        J   Planned Unit Development Rider        1-4 Family Rider
                  VA Rider                 Biweekly Payment Rider                Other(s) (specify)


         (J) "Appl~ble Law" means all controlling applicable federal, state and local statutes. regulations,
         ordinances and adminis11a1ive rules and orders (that have the effecl of law) as welt z all applicable final,
         non-appeafable judicial opinions.
         (K) "Community Association Daes. FffS., and AssessmenlS" means all dues, fees. essessmenlS and other
         charges that .are imposed on Borrower or the Property by a condominium association. homeowners
         association or similar organization.                                                            ·
         (L) t1[1ectronic Funds Tnansfer" means any rransfer of funds, ct~ than a uansaction originated by
         check, draft, or similar paper instrumCTit, which is iniliated through an electronic tenninal, telephonic
         instrument, computer, or magnetic tape so as to order, instn1ct. or authorize a finMcial inStitution to debit
         or credit an account. Such term includes. but is not limited to, point-of-sale transfe,s, automated teller
         machine transactions, transfers initiated by telephone. wire transfm, and automated clearinghouse
         transfers.
        (M) "Escrow Items" means those items that are d~ibed in ~tion 3.
        (N) "MlscelJa~us Procuds" means any compensalion, settlement. award of damages, or proceeds paid
        by any third pany (other than mstirante proceeds paid under the coverages described in Section 5) for: {i)
        damage to, or destruction of, the Property; (ii) condemnation or other taking or an or any part of the
        Propeny; (iii) conveyance in lieu of condemnation; or {iv) misrepresentations of, or omissions as to, the
        value and/or condition of the Propeity.
        (0) ••Mortga~ lasuraatt" means insurance protecting Lender against the nonpayment of, or default on,
        the Loan.
        (P) "Periodif Psyment" means the regularly scheduled amount due for (i) principal and interest under the
        Note, plus (ii) any amounlS undet Section 3 of this Security .lns~ent.


                                                                                     ~
        G-6AICA) (D201)
           ":It
                                                          Ptve2 0115,          ~      ---           Form JOOS 1101




                                                          04 2801028
                                                                                                               Exhibit 1 - Page 22
  Case 2:19-cv-02185-PSG-AS
             SUPERIOR COURTDocument
                            OF CALIFORNIA                      of 27for Clerk's
                                    8-1 Filed 03/29/19 Page 24Reservod    Page  FIie Stamp
                                                                                       ID #:265
                          COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:                                                                                         FILED
  Chatsworth Courthouse                                                                             Superior Court or California
                                                                                                     Counlyof tosAngsles
  9425 Penfield Avenue, Chatsworth, CA 91311
                                                                                                          10/30/2018
                       NOTICE OF CASE ASSIGNMENT                                           ~1crn R C3'",:,-, E~Jlra'c Ofietf 1C<.!!'!( o! Cou:1
                                                                                             8}~           S1even Orozco            ~puiy
                          UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer indicated below.   18CHCV00052

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                 ASSIGNED JUDGE
     V jMelvin D. Sandvig
                                             DEPT
                                            F47
                                                      ROOM
                                                                 ,,
                                                                 ~
                                                                 ~
                                                                 ~. ~
                                                                 ~~      I
                                                                                ASSIGNED JUDGE                       DEPT         ROOM




    Given to the Plaintiff/Cross-CompluinanUAttorney of Record       Sherri R. Carter, Executive Officer/ Clerk of Court
    Oil   10/30/2018                                                         By Steven Orozco                                    , Deputy Clerk
                 (Date)
LAc1v 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
                                                                          Exhibit 1 - Page 23
LASC Aooroved 05/06
 Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 25Resffied
                                                               of 27ror Clerk·s
                                                                          Page        ID #:266
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               SUPERIOR COURT OF CALIFORNIA
                  COUNTY OF LOS ANGELES                                                                        FILED
                                                                                                     Superior Court of Cilfiforni,1
  COURTHOUSE ADDRESS:
                                                                                                       County of losAngsl9s
 Chatsworth Courthouse
 9425 Penfield Avenue, Chatsworth, CA 91311                                                                10/30!2018
  PLAINTIFF:                                                                              Shctri R. C.r!cr, £:s.o:u5'.'c O!fea / C'1Jf.\ al Co~-
  Daniel W Robinson et al                                                                                  Steven Orozco
  DEFENDANT:
                                                                                               By:                                   L~~'.Jl)'

  Mortgage Electronic Registration Systems, Inc. et al
                                                                                              CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                           18CHCV00052
TO THE PLAINTJFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:


                                     I Date: 04/02/2019          ""'" 8:30 AM         Dept:    F47

NOTICE TO DEFENDANT:              THE SElTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                    DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed joinUy by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule: an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code,§ 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608. subdivision (b }, and California Rules of
Court, rule 2.2 et seq.


Dated:     10/30/18
                                                                                                 Judicial Officer

                                                      CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

D     by depositing in the United States mail at the courthouse in Chatsworth                • California, one copy of the original
      filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

iZl   by personally giving the party notice upon filing Qf the complaint.
       Allen D West
       700 N Pacific Coast Hwy #201
       Redondo Beach, CA 90277
                                                                            Sherri R. Carter, Executive Officer I Cieri< of Court


Dated: 10/30/2018                                                                                    By Steven Orozco
                                                                                                                        Deputy Clerk
LACJV 132 (Rev. 07/13)                                                                                       Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                            NOTICE OF                                                        LASC Local Rules. Chapter Three
                                                                                                                 Exhibit 1 - Page 24
For Optlonal Use                  CASE MANAGEMENT CONFERENCE
Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 26 of 27 Page ID #:267
                                                                                                                                                            CM-015
    ATTORNEY OR PARTY WITHOUT ATIORNEY (Name, State Bar ll(Jmber, and address):                                                 FOR COURT USE ONLY
   LAW OFFICES: 11 WEST & ASSOCIATES"
 - 700 N PACIFIC COAST HWY #201
   REDONDO BEACH, CA 90277                                                                                                CONFORM
                                                                                                                          sierrorCou
                                                                                                                             O~IGINJU~g8PPV
                                                                                                                                        0
                                                    FAX NO. (Optional): 310 J 72. 413 7
                                                                                                                             ounty of   l~~California
               TELEPHONE NO.:  3 10J 74.414}                                                                                                 nge1es
     e.w.1t ADDREss roptionaO: westandassociates l@gmail.com

       An oRNEYFOR {NameJ: Plaintiff's (Robinson, Daniel W., et al.)                                                         DCT 30 2018
                                                                                                                 Sherr; R. Carter E     .
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                      By Steve~ 0xecut,ve Olficar/C/erl(
             STREETAOORESS: 9425 PENDFIELD AVE
                                                                                                                                   rozco, Deputy
             MAILING ADDRESS: SAME
            CITY AND ZIP CODE: CHATSWORTH, CA 91311
                BRANCH NAME: NORTH VALLEY DISTRJCT
                                                                                                                 CASE NUMBER:
                                           Robinson, Daniel W.; Robinson, Darla J. et al.
       PLAINTIFF/PETITIONER:
                                                                                                                     11CHCVn0052
 DEFENDANT/RESPONDENT:                     Mortgage Electronic Registration Systems, Inc.                        JUDl°'L O~R:



                                                                                                                 DEPT.:
                                          NOTICE OF RELATED CASE


 ldentffy, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Tille:     Robinson v. United Pacific Mortgage
      b.    Case number: PC05228 l
      c. Court:      W            same as above
                     D            other state or federal court (name and address):
      d. Department:
     e. Case type:           D        limited civil   [ZJ   unlimited civil   D     probate   D     family law    D       other (specify):

      f. Filing date:        January 11 , 2012
     g. Has this case been designated or determined as "complex?"                       D     Yes     [2J No
     h. Relationship of this case to the case referenced above (check all that apply):

           D . involves the same parties and is based on the same or similar claims.
           [ZJ arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
           CZJ       involves claims against, title to, possession of, or damages to the same property.
           D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                    D            Additional explanation is attached in attachment 1h
      i. Status of case:
           CJ        pending
           D         dismissed         D       with     D       without prejudice
           m        disposed of by judgment

2. a. Title:
     b. Case number:
     c. Court:      D             same as above
                    D             other state or federal court (name and address):
    d. Department:
                                                                                                                                                            Paga 1 of 3
Form Approved for Opllonal Use                                                                                                            Cal. Rules of Court rul e 3.300
 Judicial Council of Calilomla                                  NOTICE OF RELATED CASE                                                             www.cot¥rinro.ca.gov
  CM-015 (Rev. July 1. 20071
                                                                                                                                  Exhibit 1 - Page 25
       ·,
•
     Case 2:19-cv-02185-PSG-AS Document 8-1 Filed 03/29/19 Page 27 of 27 Page ID #:268
                                                                                                                                                               CM.015
                                                                                                                     CASE NUMBER:
             PLAINTIFF/PETITIONER:             Robinson, Daniel W.; Robinson, Darla J. et al.
     r
            DEFENDANT/RESPONDENT:              Mortgage Electronic Registration Systems, Inc.
      2. (continued)
                  e, Case type:        D      limited civil   D   unlimited civil   D       probate   D         family law   D        other (specify):
                  f. Filing date:
                  g. Has this case been designated or determined as "complex?"                   D        Yes    D       No
                  h. Relationship of this case to the case referenced above (check all that apply):
                      D          involves the same parties and is based on the same or similar claims.
                      D         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                                the same or substantially identical questions of law or fact.
                      D         involves claims against, title to, possession of, or damages to the same property, ·             .
                      D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                              D        Additional explanation is attached in attachment 2h
                  i. Status of case:
                      D         pending
                      D         dismissed     D        with   D     without prejudice
                      D         disposed of by judgment

     3.      a.    Title:
             b. Case number:
             c. Court:      D          same as above
                            D          other state or federal court (name and address):
             d. Department:
             e. Case type:         D       limited civil      D   unlimited civil   D       probate   D     family law       D       other (specify):
             f. Filing date:

             g. Has this case been designated or determined as "complex?"                    D        Yes   D         No
             h. Relationship of this case to the case referenced above (check all that apply):
                  D         involves the same parties and is based on the same or similar claims.
                  D         arises from the same or substantially identical transactions. incidents, or events requiring the determination of
                            the same or substantially identical questions of law or fact.
                  D         involves claims against, title to, possession of, or damages to the same property.
                  D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                            D       Additional explanation is attached in attachment 3h
             i. Status of case:
                  CJ        pending
                  CJ        dismissed      D        with      D   without prejudice
                  0         disposed of by judgment

     4.     D         Additional related cases are described in Attachment 4. Number of pages attached: _ _



    Date:

                                                                                        ~
                      (TYPE OR PRINT NAME OF PARTY OR ATIORNEY)                                           (SIGNATURE OF PARTY OR ATIORNEY)


    C~-015 [Rev. J\fy 1. 2007]                                                                                                                                 Page 2 of 3
                                                                  NOTICE OF RELATED CASE
                                                                                                                                         Exhibit 1 - Page 26
